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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

 MARYLAND SHALL ISSUE, INC., et al.,          )
                                              )
 Plaintiffs,                                  )
                                              )
 v.                                           ) Case No. 8:21-cv-01736-TDC (L)
                                              ) Case No. 8:22-cv-01967-DLB
 MONTGOMERY COUNTY, MD.,                      )
                                              )
 Defendant.                                   )


                                      PROPOSED ORDER

        `1.    Having reviewed Plaintiffs’ Emergency Motion for a Temporary Restraining Order

and Emergency Motion for a Preliminary Injunction and accompanying memorandum of law, the

response of Defendant Montgomery County in Opposition thereto, and Plaintiffs’ Reply, IT IS

HEREBY ORDERED, that:

        2.     Plaintiffs’ Motion for a Temporary Restraining Order is GRANTED, and that the

Defendant, Montgomery County, Maryland, is temporarily restrained from enforcing Section 57-

11(a) of the Montgomery County Code as against any person who possesses, in accordance with

State law, a wear and carry permit issued by the Maryland State Police pursuant to MD Code,

Public Safety, § 5-306, and IT IS HERBY FURTHER ORDERED, that:

        3.     Plaintiffs’ Motion for a Preliminary Injunction is GRANTED, and that the

Defendant, Montgomery County, Maryland, is hereby preliminarily enjoined from enforcing

Section 57-11(a) of the Montgomery County Code as against any person who possesses, in

accordance with State law, a wear and carry permit issued by the Maryland State Police pursuant

to MD Code, Public Safety, § 5-306.

Date: December    , 2022                   ______________________________________________
                                           THEODORE D. CHUANG
                                           United States District Judge
